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           Exhibit 5
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            EXHIBIT A
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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop C2-21-15
                                                                          CAIS/
Baltimore, Maryland 21244-1850



Centers for Medicaid & State Operations



Ms. Ann C. Kohler
Director
New Jersey Department ofHwnan Services
P.O. Box 712
Trenton, NJ 08625-0712

Dear Ms. Kohler:

This letter is being sent to your office twice -in order to correct the addressee and to correct the
reference to the amendment number. We have reviewed New Jersey Plan Amendment (SPA) 03-05,
Prescribed Drugs, received in the Regional Office on September 22, 2003. This amendment requires
the use of generic drugs for all multi-source drugs, allows for the negotiation of supplemental
rebates for generic drugs, and changes the estimated acquistion cost for all drugs from AWP
minus 10 percent to A WP minus 12.5 percent. In addition, it allows for the return of unit dose
drugs for patients in long-term care facilities and a managed care organization pharmacy carve-
out. You have requested an effective date of September 1, 2003 for this amendment. We have
reviewed your proposal and are unable to approve it as submitted. Therefore, we requesting
additional infonnation pursuant to Section 1915(f) of the Social Security Act (the Act).

We have had communications with your staff concerning the proposed changes to your Medicaid state
plan and your staff has been instrumental in responding to our concerns. Nevertheless, before we can
continue processing this amendment, we need additional infonnation as outlined below.

Addenda to Attachment 3.1-A and 3.t-B. Page 12a:

    A. The SPA provides that multi-source brand name drugs with a narrow therapeutic index (NTI)
       and other drugs may be excluded from prior authorization, as detennined by the
       Commissioner. Based on infonnation the Food and Drug Administration (FDA) maintains,
       NTI drugs offer the same therapeutically equivalence that other drugs have. Therefore, you
       may want to reconsider exempting NT! drugs from the prior authorization requirements.
       Also, for all drugs included or excluded for prior authorization, please indicate what clinical
       considerations are used in this determination.
    B. Although the prior authorization requirements for multi-source drug allow a ten-day supply to
       be dispensed pending receipt of prior authorization, please specify in the plan that the prior
       authorization requirements for multi-source drugs, as well as other covered outpatient drugs
       provides a response by telephone or other telecommunication device within 24 hours of a
       request for prior authorization.




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   C. Paragraph 2: We suggest you replace this paragraph with the following language: ''The state
       is in compliance with section 1927 ofthe Social Security Act. The state will cover drugs
       of federal rebate participating manufacturers. The state is in compliance with reporting
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       requirements for utilization and restrictions to coverage. Phannaceutical manufacturers
       can audit utilization data. The unit rebate amount is confidential and cannot be disclosed
       for purposes other than rebate invoicing and verification.

        The state will be negotiating supplemental rebates in addition to the federal rebates
        provided for in Title XIX. Rebate agreements between the state and a pharmaceutical
        manufacturer will be separate from the federal rebates.

        A rebate agreement between the state and a drug manufacturer for drugs provided to the
        Medicaid popUlation, submitted to CMS on September 22,2003 and entitled, "State of
        New Jersey Medicaid Supplemental Rebate Agreement," has been authorized by eMS.

        Supplemental rebates received by the State in excess of those required under the
        national drug rebate agreement will be shared with the Federal government on the same
        percentage basis as applied under the national rebate agreement.

        All drugs covered by the program, irrespective of a prior authorization agreement, will
        comply with the provisions of the national drug rebate agreement."

   D. Insulin and diabetic testing materials, insulin syringes and needles, and family planning
      devices should not be in the drug section of the SPA, but instead should be moved to the
      home health benefits section of the state plan.
   E. Please specify which products are covered as protein replacement supplements and food
      oils. Please note that nutritional products should not be covered as drugs and should also
      be moved to the home health section of the state plan.
   F. The SPA provides that lipase inhibitors are subject to prior approval and shall be limited
      to certain obese individuals on Body Mass Index with or without certain co-morbidities.
      Please assure that the State is providing Medicaid coverage and compliance with FDA
      labeling and off-label compendia indications.
   G. Please specify in the plan that the prior authorization requirements provides a response by
      telephone or other telecommunication device within 24 hours of a request for prior
      authorization.
   H. Attachment 3.1-B, Page 12(a)(1), Paragraph 7: Please specify whether in emergencies, a
      72-hour supply, or up to a six (6) day supply, may be dispensed before obtaining prior
      approval should have been included in the last sentence.

Addendum to Attachment 3.1-A and 3.t-8. Page 12(a)(l)

    A. Paragraph 1: Please specify the monthly prescription limits.
    B. Please specify which products are covered as protein nutritional supplements.
    C. Please conform whether limits for impotence drugs to those over 18 comply with the FDA
       labeled and compendia indications.




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   D. Please explain the basis for deleting the provision that prescribed drugs are available only to
      pregnant women and dependent children. Additionally please clarify the coverage group(s)
      for which prescribed drugs will be covered under fee-for-service basis and managed care.


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   E. Please specify in the plan that the prior authorization requirements provides a response by
       telephone or other telecommunication device within 24 hours of a request for prior
       authorization.

Attachment 4.19b, Page 10

   A. Please clarify the tenn "reimbursable devices".
   B. Please provide the documentation used to detennine that the proposed EAC of AWP - 12.5%
      is the best estimate ofprices that pharmacists in the State are generally and currently paying
      for prescribed drugs.
   C. Please provide a copy of the public notice as required in the regulations at 42 CFR 447.205.
   D. The plan section pagination goes from Section 1.16 then to Section 1.21. Please provide the
      previously omitted sections 1.17, 1.18, 1.19, and 1.20 or confinn that these sections had been
      deleted from the state plan.
   E. As previously noted, Coverage for insulin and diabetic testing materials, insulin syringes
      and needles, and family planning devices should not be in the drug section of the SPA,
      but instead moved to the home health section of the state plan. Additionally, please
      specify which non-legend family planning drugs are covered.

Supplemental Rebate Agreement

   A. Recitals: Please replace "for the benefit of the New Jersey's Medicaid Recipients providing
      such agreements are authorized by the Centers for Medicare & Medicaid Services (CMS) with
       "in addition to the rebates received W1der the CMS Agreement t pursuant to Section 1927 of
       the Social Security Act (42 U.S.C. § 1396r-8), for the Manufacturer's Covered Product( s)
       utilization in the New Jersey Medicaid Program in which there is Medicaid federal financial
       participation. The parties also intend for this agreement to meet the requirements of tooeraI
       law at Section 1927 of the Social Security Act (42 U.S.C. §1396r-8r
    B. Section I (b)(1): In the first sentence, please change "phannacies" to "class of trade".
    C. Section III (d): The confidentiality provisions of Section 1927 prohibits the use ofthe eMS
       URA for the purpose of detennining the New Jersey Supplemental Rebate URA, nor can a
       manufacturer waive this provision. Please change this section to specify that the manufacturer
       will calculate and provide the Division of Medical Assistance and Health Services a CMS
       Rebate for the covered product(s).
    D. Section III (i): Please insert "as authorized by CMS" after "necessary".
    E. Section V (p): In the first sentence, insert "as authorized by eMS" after parties.
    F. Section V (q): Please insert "as authorized by eMS" after Agreement.
    G. Enclosure B: Please explain the basis for no supplemental rebates will apply for single source
       and innovator multiple source drugs, nevertheless, these products will be considered
       Supplemental Rebate Dmgs.

Payment Questions Applicable to all Section 4.19B Noninstitutional Services




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The questions posed in this section are the standard questions we are asking on all reimbursement
SPA's pending at eMS. We ask that you provide the following information for each ofthe non-
institutional services reimbursed pursuant to a methodology described in Attachment 4.19B of the
State Plan.

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    A. Section 1903(a)(1) of the Social Security Act provides that Federal financial participation
       is only available for expenditures made by states for services under the approved State
       Plan. To ensure that program dollars are used only to pay for Medicaid services, we are
       asking states to confirm to CMS that pharmacies retain 100 percent of the payments
       provided to them as indicated in attaclunent 4.19B. Specifically please answer the
       following questions regarding the proposed amendment and current reimbursement under
       this section of the plan for phannacy providers:

        •   Do phannacy providers retain all of the state and Federal Medicaid payments
            (including dispensing fees, ingredient costs, benefit management costs, etc.) or are
            providers obligated to return any portion of the Medicaid payment to the state or local
            government entity, or any other intermediary organization or entity?
        •   If phannacy providers are obligated to return any portion of the payment, the state
            must provide a full description of the repayment methodology including: a complete
            list of phannacy providers that return their payments; the amount or percentage of the
            payment; and the disposition and use of the funds once they are returned to the state
            (i.e. general revenue fund, medical services account, etc.)

    B. Section 1902(a)(2) provides that the lack of adequate funds from local sources will not
       result in the lowering the amount, duration, scope, or qualify of care and services
       available under the plan. Please describe how the state share of each type of Medicaid
       payment in attachment 4.198 is funded, including the payments made under the proposed
       amendment. Specifically:

        •   Describe whether the state share is from appropriation from the legislature, through
            intergovernmental transfer agreements (IGT), certified public expenditures (CPE),
            provider taxes, or any other mechanism used by the state to provide the state share.
        •   Please provide the estimate of total expenditures and state share amounts for each
            type of Medicaid payment.
        •   If any of the state share is being funded by IGTs or CPEs, please fully describe the
            matching arrangement. If CPEs are used, please describe how the state verifies that
            the expenditures being certified are eligible for Federal matching funds in accordance
            with 42 CFR 433.51 (b).

    C. Section 1902(a)(30) of the Act requires that payments for services be consistent with
        efficiency, economy, and quality of care. Section 1903(a)(1) provides for FFP to states
        for expenditures for services under an approved state plan. If you are providing, or
        propose to provide under this amendment, an enhanced or supplemental payment to
        pharmacy providers under section 4.19B of the plan, please provide the following
        information:




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        •   The total amount for each enhanced or supplemental payment provided to pharmacy
            providers and the precise service cost this payment is covering.
        •   Indicate whether there are public pharmacy providers and if they are receiving
            payments in accordance with attachment 4.19B that in the aggregate exceed its

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            reasonable costs of providing services. Ifthe payment exceeds the reasonable costs
            of services (for pharmacy that would be a reasonable dispensing fee and ingredient
            cost) please indicate whether the state recoups the excess and returns the Federal
            share of the excess to eMS on the quarterl y expenditure report.

Supplemental Rebate Agreement Questions

Section 1927(b)( 1)(B) ofthe Act requires that amounts received by a state under an agreement
authorized by the Secretary shall be considered to be a reduction in the amount expended under
the state plan for medical assistance for purposes of section 1903(a)(1). Therefore, any
pharmacy expenditures subject to a supplemental rebate resulting from an agreement authorized
by eMS (or agreements that CMS has not yet authorized because the state has failed to submit
them) must be reduced by the rebate prior to the state submitting a claim for federal financial
participation (FFP). This being the case, please respond to the following questions:

   •    Under the cun'ent state plan or proposed amendment, does the state receive a
        supplemental rebate or any revenue back from manufacturers in addition to the national
        Medicaid rebate? If so, does the state reduce the Medicaid expenditures under the state
        plan by the amount of the rebates or revenue?
   •    Under the current state plan or proposed amendment, does the state receive any goods,
        services or other benefits for their Medicaid covered popUlation from the phannaceutical
        manufacturer? Does the manufacturer provide these goods, services or other benefits for
        including the manufacturer's drugs on a Medicaid preferred drug list? Does the state
        receive goods or services from a manufacturer if the manufacturer's drugs are not subject
        to prior authorization?
    •   If the state receives goods or services from the manufacturer, what kinds of goods or
        services are provided? What is the value of these goods and services?
    •   Does the state share the savings realized by these manufacturer goods, services, revenues
        and rebates with the federal government by offsetting total computable Medicaid
        expenditures by the costs ofthese services?
    •   Are the costs of services, rebates or other rebate revenue provided by the manufacturer
        remitted to eMS in the quarter in which it was received by the State?


This request for additional information is made pursuant to Section 1915(f) of the Social Security Act
and wi11 stop the 90-day period for eMS' review and approval of a SPA. Upon receipt of your
additional infotmation, a new 90-day period will begin, In accordance with our guidelines to all State
Medicaid Directors, dated January 2,2001, we request that you provide a formal response to this
request for additional information no later than 90-days from the date of this letter. If you do not
provide us with a fonnal response by that date, we will conclude that the State has not established that
the proposed SPA is consistent with all statutory and regulatory requirements and will initiate
disapproval action on the amendment.




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Because this amendment was submitted after Januruy 2,2001 and is effective on or after January 1.
2001, please be advised that we will defer Federal Financial Participation (FFP) for State payments


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made in accordance with this amendment until it is approved. Upon approval, FFP will be available
for the period beginning with the effective date through the date of actual approval. Under revised
eMS procedures for processing phannacy-related SPAs, we ask that you respond to this request for
additional information via e-mail, fax, and hard copy. Please e-mail your response to me at
Lreed2@cms.hhs.gov and to Kim Howell ut Khowcll@cms,1l11s.gov. Please fax your response
to me at 410-786-5882. Also, please send hard copies to Sue Kelly at the New York Regional Office
and to me at the address above. We appreciate your cooperation as we implement our new
procedures.

If you have any questions regarding this request, please contact Kim Howell at (410) 786-6762.

                                                               Sincerely,



                                                               LanyReed
                                                               Co-Leader
                                                               Phannacy Team




cc:     Sue Kelly, ARA New York Regional Office
        Mark Gilbert, ARA Coordinator
        Julie Alberino, New York Regional Office
        Chong Tieng, Boston Regional Office




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